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                                        September 12, 2019


VIA ECF
The Honorable Jesse M. Furman
United States District Court
Southern District of New York
Thurgood Marshall Courthouse
40 Foley Square
New York, New York 10007

       Re:     Touchstone Strategic Trust, et al. v. General Electric Co., et al., No. 19-cv-1876
               (S.D.N.Y.) (the “Touchstone Action”)

Dear Judge Furman:

        We write jointly on behalf of the parties in the above-referenced action pursuant to the
Court’s March 13, 2019 Order (ECF No. 184) (“Order”) which endorsed the parties’ proposal
concerning motion practice in the Touchstone Action in light of the motion to dismiss that was
pending in Sjunde AP-Fonden, et al. v. General Electric Co., et al., No. 17-cv-8457 (S.D.N.Y.)
(the “Class Action”). The Order required that the parties to “submit a joint letter proposing next
steps in” the Touchstone Action “[w]ithin two weeks of the Court's ruling on the pending motion
to dismiss in the Class Action.” On August 29, 2019, the Court issued an Order and Opinion in
the Class Action.

        The parties in the Touchstone Action have met and conferred and agree that motion
practice in the Touchstone Action should continue to be deferred. The parties anticipate that the
plaintiffs in the Class Action will file an amended complaint and that there will be additional
motion practice. Because this motion practice will likely result in a ruling that provides greater
clarity as to the scope of claims that will ultimately be pursued in the Class Action, at this time it
appears that the interests of judicial economy would best be served by extending the Defendants’
deadline to answer or otherwise respond to the complaint until the Class Action plaintiffs file
their amended complaint and the Court rules on any subsequent motion to dismiss that amended
complaint.

        Accordingly, the parties in the Touchstone Action propose that, after the Court rules on
the motion to dismiss in the Class Action, they meet and confer and submit within 21 days from
the date the Court enters its order a joint letter to the Court setting forth a proposed schedule for
and/or the parties’ positions on further procedural steps. In the event that the Class Action
plaintiffs inform the Court that they do not intend to amend the complaint, the parties propose to
submit a joint letter to the Court within 21 days proposing a schedule or setting forth the parties’
positions as to next steps.
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Respectfully submitted,

/s/ Steven S. Fitzgerald                      /s/ Blake T. Denton

WOLLMUTH MAHER & DEUTSCH LLP                  LATHAM & WATKINS LLP
William A. Maher                              Miles N. Ruthberg
Steven S. Fitzgerald                          Blake T. Denton
Roselind F. Hallinan                          885 Third Avenue
500 5th Avenue                                New York, NY 10022
New York, NY 10110                            Tel: (212) 906-1200
Tel: (212) 382-3300                           Fax: (212) 751-4864
Fax: (212) 383-0050                           miles.ruthberg@lw.com
wmaher@wmd-law.com                            blake.denton@lw.com
sfitzgerald@wmd-law.com
rhallinan@wmd-law.com                         Counsel for Defendants General Electric Co.,
                                              et al.
Counsel for Plaintiffs Touchstone Strategic
Trust, et al.




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